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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 WESLEY CORPORATION, et al.,

         Plaintiffs,

 v.                                                              Case No. 17-10021

 ZOOM T.V. PRODUCTS, LLC, et al.,

         Defendants.
                                                /

       OPINION AND ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY
      JUDGMENT AND DENYING PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

         Nearly three years ago, Plaintiffs brought suit against Defendant Zoom TV

 Products (“Zoom TV”) for patent infringement and breach of contract. That case settled

 a year later, but its saga was not yet complete; now before the court is Plaintiffs’ action

 against Zoom TV and its marketing affiliate, Defendant Ideavillage Products Corporation

 (“Ideavillage”), for breach of the settlement agreement and trademark and patent

 infringement. Defendants and Plaintiffs have filed cross motions for summary judgment.

 (Dkt. ##61, 62.) The motions are fully briefed, and the court has determined that a

 hearing is unnecessary. E.D. Mich. L.R. 7.1(f)(2). For the following reasons,

 Defendants’ motion will be granted, and Plaintiffs’ motion will be denied.

                                     I. BACKGROUND

         Contrary to the court’s scheduling order (Dkt. #33), neither motion begins with a

 statement of material facts.1 The court, therefore, relies on the complaint to set forth the



         1
          Plaintiffs’ brief begins with a “Concise Statement” that is a scattered collection
 of proclamations—most of which bear no citation to the record—and what appears to be
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 factual background of this case.

          Plaintiff David Hanson invented a product that allows users to create stuffed

 food—most especially, stuffed hamburgers. He obtained a patent for his efforts, which

 was assigned to his company, Plaintiff Wesley Corporation. (Dkt. #1-3.) Wesley

 Corporation also owns the federally-registered trademark “STUFZ,” which it uses in the

 distribution and sales of Hanson’s product. (Dkt. #1-2; Hanson Decl., Dkt. #68 Pg. ID

 1254.)

          In June 2015, Plaintiffs brought suit against Zoom TV. Plaintiffs alleged that they

 had entered into a licensing agreement with Zoom TV whereby Zoom TV would have

 the right to manufacture and sell the “Stufz” food maker—and use the “Stufz” mark—

 while paying royalties. See Wesley Corp. v. Zoom TV Prods., 15-12449 (Cleland, J.).

 According to Plaintiffs, after the licensing agreement was amended to account for

 Plaintiffs’ new product (“Stufz Sliders”), Zoom TV breached the agreement. Plaintiffs

 sought to hold Zoom TV liable for patent infringement and breach of contract.

          That case ended in a settlement agreement dated July 22, 2016. (Dkt. #1-1.)

 Relevant here, the agreement provided that Zoom TV and Ideavillage would

 “immediately cease all sales, advertising and promotion of Stufz and/or Stufz Sliders

 products (the ‘Products’), [including] any website activities and/or advertisement.” (Dkt.

 #1-1 Pg. ID 14.) The agreement further provided that those products that had already

 been sold to third parties—and for which a royalty had been paid—“shall remain in the

 marketplace and not subject to the foregoing as WESLEY’s rights have been exhausted

 on those particularly [sic] products based on the royalty paid.” (Id.) The agreement also



 portions of Plaintiffs’ complaint copied verbatim. (Dkt. #62-1 Pg. ID 1062–66.)

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 contemplated the existence of “any molds, tools, or other materials designed to

 manufacture the Products.” (Id.) According to the agreement, “[t]o the extent that such

 Tooling exists, ZOOM and IDEA VILLAGE shall advise third-party Well-Bra[i]n, to either

 deal with WESLEY exclusively or promptly destroy all Tools and provide a certificate of

 destruction if such Tooling is or has been destroyed.” (Id. at Pg. ID 14–15.)

        But the settlement agreement was not the end of the matter. Plaintiffs filed suit in

 January 2017, alleging that Zoom TV and Ideavillage have breached the terms of the

 settlement agreement and infringed on Plaintiffs’ patent and trademarks. In particular,

 Plaintiffs allege that Defendants breached the agreement by continuing to sell,

 advertise, and promote “Stufz” products via “buystufz.com,” a website Defendants

 owned and controlled. And, Plaintiffs say, the continued use of the website constitutes

 trademark infringement. Plaintiffs further claim that Defendants also took no action to

 destroy tooling used to make the Stufz products.

                                      II. STANDARD

        Summary judgment is proper “if the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of

 law.” Fed. R. Civ. P. 56(a). “In deciding a motion for summary judgment, the court must

 view the evidence in the light most favorable to the non-moving party, drawing all

 reasonable inferences in that party’s favor.” Sagan v. United States, 342 F.3d 493, 497

 (6th Cir. 2003).

        The movant has the initial burden of showing the absence of a genuine dispute

 as to a material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The burden

 then shifts to the nonmovant, who must put forth enough evidence to show that there



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 exists “a genuine issue for trial.” Horton v. Potter, 369 F.3d 906, 909 (6th Cir. 2004)

 (citation omitted). It is the parties’ responsibility to support their factual assertions by

 citation to the record; the court is under no obligation to search for materials in the

 record uncited by the parties. Fed. R. Civ. P. 56(c).

                                       III. DISCUSSION

        Defendants move for summary judgment as to all of Plaintiffs’ claims. According

 to Defendants, there is no evidence that they breached the terms of the settlement

 agreement. As to Plaintiffs’ allegations of patent and trademark infringement,

 Defendants say that these claims were released by the settlement agreement, and that

 these allegations similarly lack supporting evidence. Plaintiffs both respond and move

 for summary judgment on the basis that screenshots of Defendant’s website

 “buystufz.com” show that Defendants continued marketing of Plaintiffs’ products without

 permission.

                          A. Breach of the Settlement Agreement

        Plaintiffs claim that Defendants breached the settlement agreement firstly by

 continuing to sell, market, and advertise Stufz products on the internet. The claim is

 governed by Michigan contract law: “[a] party asserting breach of contract must

 establish by a preponderance of the evidence that (1) there was a contract (2) which the

 other party breached (3) thereby resulting in damages to the party claiming breach.”

 Miller-Davis Co. v. Ahrens Const., Inc., 848 N.W.2d 95, 104 (Mich. 2014). “[C]ausation

 of damages is an essential element of any breach of contract action . . . .” Id.

        Plaintiffs claim that Defendants breached the settlement agreement by

 maintaining their website “buystufz.com,” thereby continuing to advertise and promote



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 Plaintiffs’ products. They ask the court to take judicial notice of certain screenshots of

 the website allegedly showing that the site was up and running after the effective date of

 the settlement agreement. Defendants respond that the settlement agreement did not

 require them to “scrub” the internet of this kind of material. And at any rate, they say,

 Plaintiffs have not shown that they suffered any damage from the website remaining up.

        The court need not decide whether Defendants improperly “promoted” or

 “advertised” Plaintiffs’ products through maintenance of the website because Plaintiffs

 have shown no harm from the alleged breach—an essential element of their breach of

 contract claim. Apparently in response to Defendants’ argument that Plaintiffs have not

 identified any damages, Plaintiffs offer this hypothesis: “If Defendants[’] interactive

 websites offered the STUFZ products for sale, leading consumers to ‘dead-links[,]’ then

 consumers would be frustrated and have a negative impression of their buying

 experience.” (Dkt. #73 Pg. ID 1402.) But Plaintiffs’ proffered conjecture is not evidence

 of damages. Plaintiffs also ask that the court “order specific performance” of the

 settlement agreement. But they do not elaborate on what precisely that means. Indeed,

 the court is hard-pressed to pinpoint what Plaintiffs might be asking for, given that the

 website has been taken down and there is nothing to suggest it might be reinstated.

 (See Epstein Decl., Dkt. #61-3 Pg. ID 1050.) In the absence of any evidence that

 Plaintiffs were damaged by Defendants’ continued use of the website, Defendants are

 entitled to summary judgment on this claim.

        Plaintiffs’ second claim is that Defendants breached the settlement agreement by

 failing to take action to destroy existing molds. But Plaintiffs seem to misunderstand

 what is required under the settlement agreement. The operative provision states: “[t]o



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 the extent that such Tooling exists, ZOOM and IDEA VILLAGE shall advise third-party

 Well-Bra[i]n, to either deal with WESLEY exclusively or promptly destroy all Tools and

 provide a certificate of destruction if such Tooling is or has been destroyed.” (Id. at Pg.

 ID 14–15 (emphasis added).) Defendants, in other words, were under no obligation to

 destroy tooling if they advised Well-Brain to deal with Wesley exclusively. Defendants

 provided testimony that they did so. (See Cammarano Decl., Dkt. #61-2 Pg. ID 1042;

 Cammarano Dep., Dkt. #65-4 Pg. ID 1185.) Plaintiffs do not refute this testimony,

 though they note that Defendants were unable to set forth the details of the

 communication. (See Dkt. #73 Pg. ID 1405.) But Plaintiffs “must do more than simply

 show that there is some metaphysical doubt as to the material facts.” Matsushita Elec.

 Indus. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Casting some ephemeral

 uncertainty on Defendants’ testimony is insufficient to meet their burden.2

        Defendants are entitled to summary judgment on Plaintiffs’ claims for breach of

 the settlement agreement.

                                  B. Patent Infringement

        Plaintiffs claim that Defendants are liable for patent infringement in violation of 35

 U.S.C. § 271. Under that provision, a party infringes a patent when it “makes, uses,

 offers to sell, or sells any patented invention.” § 271(a). A party may also be liable as an

 infringer where it “actively induces infringement of a patent.” § 271(b).



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          Plaintiffs point the court to David Hanson’s Declaration, in which he states that
 “Defendants never advise[d] me that Well Brain had received notice that Well Brain was
 to deal with Wesley exclusively.” (Dkt. #68 Pg. ID 1256.) But the settlement agreement
 does not oblige Defendants to give such notice. And to the extent that Plaintiffs imply
 that the settlement agreement required Defendants to ensure that Well Brain would
 agree to deal with Plaintiffs exclusively, there is similarly no such requirement in the
 agreement.

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        Defendants argue that they are entitled to summary judgment as to Plaintiffs’

 patent and trademark claims under the terms of their settlement agreement. The

 agreement has a release providing that Plaintiffs released Defendants for any “losses,

 expenses, claims, defenses, liabilities, damages, demands, actions and/or causes of

 action” that they or their agents “can, shall, or may have against ZOOM and IDEA

 VILLAGE, from the beginning of time through and including the Effective Date of this

 Agreement, including but not limited to, any claims were raised [sic] or could have been

 raised in a lawsuit between WESLEY and HANSON, individually, and ZOOM and IDEA

 VILLAGE.” (Dkt. #1-1 Pg. ID 15.) Because Plaintiffs’ claims are sufficiently related to

 events dating prior to the settlement agreement, Defendants argue, this release bars

 Plaintiffs’ claims.

        Defendants rely on Augustine Medical, Inc. v. Progressive Dynamics, Inc., 194

 F.3d 1367 (Fed. Cir. 1999); in that case, which dealt with a settlement agreement under

 Minnesota law, the court was asked to decide whether the parties’ contract foreclosed

 future patent infringement claims occurring after the settlement agreement was

 executed. The court determined that it did: the settlement agreement provided that the

 plaintiff released any claims that its owners “have, have had, or may have against PDI

 upon or by reason of or relating to any acts, omissions or statements made by PDI on or

 before the date of this Settlement Agreement.” Id. at 1371. The court found that the

 language “may have” was “necessarily future-oriented” and “implie[d] a future

 possibility” of a claim by the plaintiff.

        There is an important difference between the settlement agreement at issue in

 Augustine and the agreement here, however. While the contract language in Augustine



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 dealt with future claims “by reason of or relating to any acts, omissions, or statements

 made” before the settlement agreement, the language at issue here deals with “losses,

 expenses, claims, defenses, liabilities, damages, demands, actions and/or causes of

 action” up to the time of the settlement. This agreement, in other words, relates to legal

 claims existing at the time of the settlement, not actions or omissions made prior to its

 execution. Unlike the agreement in Augustine, the parties’ agreement here does not

 specifically foreclose future claims based on acts taken prior to the settlement

 agreement—it forecloses only losses, expenses, causes of action, and the like arising

 before execution of the contract. That is, the agreement does not foreclose post-

 settlement claims that necessarily could not have existed prior to the settlement. To

 read the release as Defendants suggest would improperly read the temporal limitation—

 “from the beginning of time through and including the Effective Date of this

 Agreement”—out of the contract.

        But Defendants also argue in the alternative: even if the release does not cover

 future claims for patent infringement, they say, they did not possess any product

 following the settlement agreement—meaning they could not have sold, advertised, or

 promoted Plaintiffs’ products. (See Cammarano Decl., Dkt. #61-2 Pg. ID 1041; Epstein

 Decl., Dkt. #61-3 Pg. ID 1049.) They further note that, even if the website buystufz.com

 remained operative for a time, they could not have made an “offer to sell” Plaintiffs’

 products for the purposes of infringement under 35 U.S.C. § 271. Under the terms of the

 statute, an “offer for sale” or an “offer to sell” is defined as “that in which the sale will

 occur before the expiration of the term of the patent.” Because Defendants had no

 product to sell, no sale could occur before the patent term expired.



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        Defendants are entitled to summary judgment on Plaintiffs’ claims for patent

 infringement. Plaintiffs offer no response to any of Defendants’ arguments as to their

 patent, nor do they make any argument of their own.3 Plaintiffs have similarly set forth

 no evidence that Defendants sold or offered for sale any of Plaintiffs’ products following

 the effective date of the settlement agreement. True, buystufz.com was apparently

 maintained for some time after the settlement agreement. But there is no evidence that

 any purported “purchase” on the website would have resulted in an actual sale before

 the expiration of Plaintiffs’ patent because there is no evidence that Defendants had any

 product to sell. Without any evidence that Defendants made, used, offered to sell, or

 sold any of Plaintiffs’ products—or induced another to do the same—Defendants are

 entitled to summary judgment.

                                C. Trademark Infringement

        Plaintiffs’ complaint stated a claim for trademark infringement under the Lanham

 Act. 15 U.S.C. § 1114(1)(a). Trademark infringement requires proof that: “(1) [the

 plaintiff] owns the registered trademark; (2) the defendant used the mark in commerce;

 and (3) the use was likely to cause confusion.” Hensley Mfg. v. ProPride, Inc., 579 F.3d

 603, 609 (6th Cir. 2009). Plaintiff has brought forth no evidence supporting this last

 element: use that was likely to cause confusion. And Defendants argue that there is

 none. (See Dkt. #72 Pg. ID 1397.)




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          Indeed, it would be a generosity to describe Plaintiffs’ briefing on either motion
 as half-hearted. Plaintiffs’ briefs are riddled with typos and grammatical errors, and in
 many places they appear to include copy-pasted versions of Plaintiffs’ complaint and
 supporting declarations.

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         The court agrees that Defendants are entitled to summary judgment on Plaintiffs’

  trademark infringement claims because those claims are unsubstantiated by any

  evidence in the record. Plaintiffs have brought forth no evidence of actual consumer

  confusion by any alleged continued use of Plaintiffs’ mark.

         Perhaps recognizing the lack of evidence to support this claim, Plaintiffs attempt

  to set forth an entirely new cause of action for the first time in their summary judgment

  motion: that Defendants’ continued use of Plaintiffs’ trademark constitutes trademark

  counterfeiting under § 1114(1)(b). According to Plaintiffs, Defendants’ continued use of

  the Stufz mark after termination of their licensing agreement is trademark counterfeiting.

  Plaintiffs’ claim is improper and foreclosed by their decision not to plead it in the

  complaint. See Tucker v. Union of Needletrades, Indus. & Textile Emps., 407 F.3d 784,

  788 (6th Cir. 2005) (quoting 10A Charles Alan Wright, Arthur R. Miller, & Mary Kay

  Kane, Federal Practice and Procedure § 2723 (3d ed. Supp. 2005) (“At the summary

  judgment stage, the proper procedure for plaintiffs to assert a new claim is to amend the

  complaint in accordance with Rule 15(a).”)). To permit Plaintiffs to state a claim for

  trademark counterfeiting—which encompasses substantially different elements from

  trademark infringement—would “subject [D]efendants to unfair surprise,” as they had no

  opportunity to investigate the claims during discovery. Id.

         But even if Plaintiffs were permitted to bring forth such a claim at this late stage,

  it would fail. The Sixth Circuit has ruled that a franchisee’s use of a trademark after

  termination of the franchise is not trademark counterfeiting. U.S. Structures, Inc. v. J.P.

  Structures, Inc., 130 F.3d 1185, 1192 (6th Cir. 1997) (interpreting the statutory provision

  mandating an award of attorney fees in counterfeiting cases and determining that



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  “[a]lthough the use of an original trademark is without authorization, it is not the use of a

  counterfeit mark”).

                                                              IV. CONCLUSION

             While Defendants have carried their burden to show that there is no genuine

  dispute as to any material fact, Plaintiffs have not brought forth evidence sufficient to

  substantiate their claims. Accordingly,

             IT IS ORDERED that Defendants’ Motion for Summary Judgment (Dkt. #61) is

  GRANTED.

             IT IS FURTHER ORDERED that Plaintiffs’ Motion for Summary Judgment (Dkt.

  #62) is DENIED.

                                                                         s/Robert H. Cleland               /
                                                                         ROBERT H. CLELAND
                                                                         UNITED STATES DISTRICT JUDGE
  Dated: May 17, 2018

  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, May 17, 2018, by electronic and/or ordinary mail.


                                                                         s/Lisa Wagner                    /
                                                                         Case Manager and Deputy Clerk
                                                                         (810) 292-6522

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